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                           UNITED STATES DISTRICT COURT
                                       DISTRICT OF MINNESOTA

Display Technologies, LLC                                                        Case Number:



                                     Plaintiff(s)
v.                                                                              RULE 7.1 – CORPORATE
                                                                              DISCLOSURE STATEMENT
Nonin Medical, Inc.



                                  Defendant(s)

Display Technologies, LLC
makes the following disclosures pursuant to Federal Rule of Civil
Procedure 7.1:
       1.   Does (party name) have a parent corporation?
              Yes                            ✔ No
                                       
            If yes, the parent corporation is . 



           
       2. Is 10% or more of the stock of (party name) owned by a publicly held corporation?
              Yes                            ✔
                                             No
            If yes, identify all such owners .




Date: _________________                                  __________________________________
                                                         S/
                                                         Attorney Name: Eric Strobel
                                                         Bar ID:
                                                         Law Firm:
                                                         Address:

                                                         Phone:
                                                         Email:
                                                         ATTORNEY FOR
